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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                            File No: 1:07-CR-141
v.
                                                            HON. ROBERT J. JONKER
ROBERT GEORGE SHAFER,

               Defendant.
                                        /


                            ORDER AND JUDGMENT
                    APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was served on the parties, and no

objection has been filed within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.    The Report and Recommendation of the Magistrate Judge (docket # 37) is approved

and adopted as the opinion of the Court.

         2.    Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Counts 1 and 6 of the Indictment.

         3.    The written plea agreement is continued under advisement pending sentencing.




Dated:        August 31, 2007                /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             UNITED STATES DISTRICT JUDGE
